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                               UNITED STATES DISTRICT COURT                                            JS-6
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES -- GENERAL

Case No.      CV 15-3899-JFW (AJWx)                                            Date: August 31, 2015

Title:        Davide Pais -v- Nationstar Mortgage LLC

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                  None Present
              Courtroom Deputy                                Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                    ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                 None

PROCEEDINGS (IN CHAMBERS):                ORDER GRANTING DEFENDANT’S MOTION TO
                                          DISMISS PLAINTIFF’S COMPLAINT [filed 8/7/15;
                                          Docket No. 14]

       On August 7, 2015, Defendant Nationstar Mortgage LLC (erroneously sued as “Nationstar
Mortgage LLC c/o NBS Default Services, LLC) (“Defendant”) filed a Motion to Dismiss Plaintiff’s
Complaint (“Motion”). Plaintiff Davide Pais (“Plaintiff”) did not file an Opposition. Pursuant to Rule
78 of the Federal Rules of Civil Procedure and Local Rule 7-15, the Court finds that this matter is
appropriate for decision without oral argument. The hearing calendared for September 14, 2015, is
hereby vacated and the matter taken off calendar. After considering the moving papers, and the
arguments therein, the Court rules as follows:

       Pursuant to Local Rule 7-9, Plaintiff was required to file and serve his Opposition or Notice
of Non-Opposition “not later than twenty-one (21) days before the date designated for the hearing
of the motion.” See Local Rule 7-9. Local Rule 7-12 provides that “[t]he failure to file any required
document, or the failure to file it within the deadline, may be deemed consent to the granting . . . of
the motion.” See Local Rule 7-12. As of August 28, 2015, Plaintiff has not filed an Opposition to
Defendant’s Motion. Pursuant to Local Rule 7-12, the Court deems Plaintiff’s failure to file an
Opposition or to otherwise comply with Local Rule 7-9 as consent to the granting of Defendant’s
Motion.

       Accordingly, Defendant’s Motion is GRANTED. Plaintiff’s Complaint is DISMISSED without
leave to amend, and this action is DISMISSED with prejudice.

         IT IS SO ORDERED.




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